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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

UNITED STATES OF AMERICA                )
                                        )
      v.                                ) CASE NO. 2:17-CR-511-7-WKW
                                        )
AKASH KUMAR                             )

                                    ORDER

      On April 20, 2018, the Magistrate Judge filed a Recommendation to which

Defendant Akash Kumar has filed no objections.        (Doc. # 230.)    Upon an

independent review of the record and upon consideration of the Recommendation, it

is ORDERED as follows:

      (1)   The Recommendation (Doc. # 230) that Kumar’s motion for a bill of

particulars (Doc. # 128) be denied is ADOPTED; and

      (2)   Kumar’s motion for a bill of particulars (Doc. # 128) is DENIED.

      DONE this 18th day of June, 2018.

                                       /s/ W. Keith Watkins
                               CHIEF UNITED STATES DISTRICT JUDGE
